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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RONALD CUPP,
                                                                                            Case No. 20-cv-03456-PJH
                                   8                       Plaintiff,

                                   9                v.                                      ORDER REGARDING THE PARTIES’
                                                                                            DISCOVERY DISPUTES
                                  10     ANDREW SMITH,
                                                                                            Re: Dkt. No. 68
                                  11                       Defendant.

                                  12
Northern District of California
 United States District Court




                                  13              The court is in receipt of plaintiff Ronald Cupp’s (“plaintiff”) and defendant Andrew
                                  14   Smith’s (“defendant”) joint letter regarding their discovery disputes. Dkt. 68. In it, the
                                  15   parties raise numerous issues concerning the other’s discovery responses. The court will
                                  16   address and resolve each party’s contentions in turn.
                                  17     I.       Plaintiff’s Discovery Requests to Defendant
                                  18              Plaintiff challenges the adequacy of defendant’s document production,
                                  19   interrogatory responses, and responses to requests for admission. Id. at 1-3. Plaintiff
                                  20   also asserts that he should not be required to complete defendant’s deposition until he
                                  21   has received complete responses to his written discovery requests. Id. at 3. With
                                  22   respect to plaintiff’s discovery requests, the court hereby ORDERS the following:
                                  23          •   The court understands that plaintiff requests documents concerning all visits to his
                                  24              property. Id. at 4. Plaintiff alleges that defendant unlawfully searched his property
                                  25              on only February 15, 2019. Dkt. 38 (FAC) ¶ 21-27. Plaintiff does not base this
                                  26              claim on any other purported searches. Id. ¶¶ 36-40, 41-45. Given that, the court
                                  27              finds that any purported searches or visits to plaintiff’s property by defendant (or
                                  28              other Sonoma County employees) are irrelevant to plaintiff’s remaining claims of
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                                   1       unconstitutional search and trespass. Thus, the court concludes that plaintiff is not
                                   2       entitled to any discovery pertaining to any such irrelevant visits.
                                   3   •   The court understands that defendant raises numerous overbreadth objections to
                                   4       plaintiff’s requests for production of documents. Dkt. 68 at 1-2. The parties have
                                   5       an obligation to adequately meet and confer to resolve any such objections. The
                                   6       court directs the parties to do so. In particular, defendant must specify why
                                   7       plaintiff’s request is overbroad. Plaintiff must then work with defendant in good
                                   8       faith to resolve his overbreadth concern.
                                   9   •   The court understands that defendant is withholding responsive information on
                                  10       privilege grounds. Dkt. 68 at 2. The court directs defendant to provide plaintiff
                                  11       with a privilege log of all such information. That log must generally describe any
                                  12
Northern District of California




                                           withheld information.
 United States District Court




                                  13   •   The court understands defendant’s position that “almost all documents pertaining
                                  14       to the 2019 inspection are hard copy records that are scanned into the computer
                                  15       system.” Dkt. 68 at 4 (emphasis added). “Almost” does not mean “all.” The court
                                  16       concludes that defendant must produce any metadata associated with any
                                  17       responsive document that is in his possession. Such documents include any
                                  18       photograph responsive to plaintiff’s discovery requests.
                                  19   •   The court understands plaintiff’s position that defendant makes non -specific, boiler
                                  20       plate objections to both requests for interrogatories and requests for admissions.
                                  21       Dkt. 68 at 2-3. The court further understands that defendant offers evasive
                                  22       answers to both such requests. Id. The court understands defendant’s position
                                  23       that some of plaintiff’s requests for interrogatory responses and requests for
                                  24       admission were “not limited to just the allegations in the February 2019
                                  25       inspection.” Id.at 4. The court still further understands that defendant answered
                                  26       “most” of such questions. Id. The court concludes that defendant must provide
                                  27       complete and responsive answers to all relevant questions. The court directs him
                                  28       to do so.
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                                   1          •   The court understands that plaintiff deposed defendant for five and a half hours on
                                   2              July 22, 2021. Dkt. 68 at 3. Plaintiff is entitled to depose defendant for a total of
                                   3              seven hours. The court concludes that defendant must submit to an additional 90
                                   4              minutes of deposition. Plaintiff may take defendant’s deposition at any point prior
                                   5              to the January 25, 2022 fact discovery cutoff in this action.
                                   6    II.       Defendant’s Discovery Requests to Plaintiff
                                   7              Defendant challenges the adequacy of plaintiff’s document production and
                                   8   interrogatory responses. Dkt. 68 at 5. Defendant also asserts that he should not be
                                   9   required to complete plaintiff’s deposition until he has received complete responses to his
                                  10   written discovery requests. Id. With respect to defendant’s discovery requests, the court
                                  11   hereby ORDERS the following:
                                  12          •
Northern District of California




                                                  The court understands that plaintiff has failed to produce any documents in
 United States District Court




                                  13              response to defendant’s requests for production of docu ments. Dkt. 68 at 5. The
                                  14              court directs plaintiff to produce all non-privileged, responsive documents in his
                                  15              possession. Because plaintiff has failed to produce any documents, his production
                                  16              pursuant to this order shall precede defendant’s further production.
                                  17          •   The court understands that plaintiff has failed to provide complete answers to
                                  18              defendant’s requests for interrogatory responses, including with respect to his
                                  19              claimed damages. Dkt. 68 at 5. The court concludes that plaintiff must provide
                                  20              complete and responsive answers to all relevant questions. The court directs him
                                  21              to do so.
                                  22          •   The court understands that defendant has not completed plaintiff’s deposition.
                                  23              Dkt. 68 at 5. Like plaintiff, defendant is entitled to depose plaintiff for a total of
                                  24              seven hours. Defendant may take plaintiff’s deposition at any point prior to the
                                  25              January 25, 2022 fact discovery cutoff in this action.
                                  26              The court ORDERS the parties to comply with each of the above instructions
                                  27   within 30 days of this order.
                                  28              IT IS SO ORDERED.
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                                   1   Dated: September 17, 2021

                                   2                                        /s/ Phyllis J. Hamilton
                                                                            PHYLLIS J. HAMILTON
                                   3                                        United States District Judge
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Northern District of California
 United States District Court




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